 

 

Case 1:18-cr-00782-GBD Document 34 Filed 10/16/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

 

-against-

ORDER

HANNIEL E. GONZALEZ,
18 Cr. 782 (GBD)

Defendant.

GEORGE B. DANIELS, United States District Judge:
The initial appearance currently scheduled for October 20, 2020 at 10:00 a.m. is hereby

cancelled.

Dated: New York, New York
October 15, 2020

SO ORDERED.

rua, B Doel

CEPR SANINLS
ed Sfates District Judge

 

 
